          Case 1:17-bk-12075                      Doc 66          Filed 06/07/18 Entered 06/07/18 09:34:32                                 Desc Main
 Fill in this information to identify the case:                   Document     Page 1 of 7
 Debtor 1              0DUWLQR0:LOVRQ
                       ___B_______B_____BB_________BBBBB___________________________BBBBBBBB_


 Debtor 2              _______BB____________BBBBB_______________BBBBBBBBBBBBBBBBBB_BBBBBBBB_
 (Spouse, if filing)

                                         6RXWKHUQ'LVWULFWRI2KLR
 8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH: BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                       
 &DVHQXPEHUBBBBBBBBBBBBBBBBBBBBBBBBBB




2IILFLDO)RUP 410S1
1RWLFHRI0RUWJDJH3D\PHQW&KDQJH                                                                                                                     12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor:                                                                                                             
                                                                                                 &RXUWFODLPQR LINQRZQ BBBBBBBBBBBBBBBBBBBBBBB
:HOOV)DUJR%DQN1$

                                                                                                 Date of payment change:
                                                                                                 Must be at least 21 days after date
                                                                                                 of this notice                            
                                                                                                                                           _____________

Last 4 digits of any number you use to                                                           New total payment:
LGHQWLI\WKHGHEWRU¶VDFFRXQW                                      ____
                                                                  ____  ____
                                                                            ____
                                                                                                                                           
                                                                                                                                           $____________BBBB
                                                                                                 Principal, interest, and escrow, if any


3DUW          (VFURZ$FFRXQW3D\PHQW$GMXVWPHQW

1.        Will there be a change in the debtor’s escrow account payment?
             No
          ✔
             <HV$WWDFKDFRS\RIWKHHVFURZDFFRXQWVWDWHPHQWSUHSDUHGLQDIRUPFRQVLVWHQWZLWKDSSOLFDEOHQRQEDQNUXSWF\ODZ'HVFULEHWKHEDVLV
              IRUWKHFKDQJH,IDVWDWHPHQWLVQRWDWWDFKHGH[SODLQZK\



               &XUUHQWHVFURZSD\PHQWBBBBBBBBBBBBBBBBB
                                                                                                                             
                                                                                                            1HZHVFURZSD\PHQWBBBBBBBBBBBBBBBBB



3DUW0RUWJDJH3D\PHQW$GMXVWPHQW

2.        Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
          variable-rate account?
          ✔
             No
             Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
              DWWDFKHGH[SODLQZK\



              &XUUHQWLQWHUHVWUDWHBBBBBBBBBBBBBBBBBB                                     1HZLQWHUHVWUDWHBBBBBBBBBBBBBBBBBB

              Current principal and interest payment: $ ______________BBB_                    New principal and interest payment: $ ___________BBB____

3DUW2WKHU3D\PHQW&KDQJH


     3.    Will there be a change in the debtor’s mortgage payment for a reason not listed above?
           ✔
               No
               Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)
              5HDVRQIRUFKDQJH



                  &XUUHQWPRUWJDJHSD\PHQWBBBBBBBBBBBBBBBBB                                 1HZPRUWJDJHSD\PHQWBBBBBBBBBBBBBBBBB
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Official Form 410S1                                                   Notice of Mortgage Payment Change                                              page 1
                0DUWLQR0:LOVRQ                                                                          
     Case
      Debtor 11:17-bk-12075                   Doc 66 Last
                                                        Filed      06/07/18 EnteredCase
                 _____BB_________________________________________________
                 First Name      Middle Name             Name
                                                                                      06/07/18       09:34:32
                                                                                        number (LINQRZQ)             Desc Main
                                                                                                          ______________________
                                                     Document             Page 2 of 7
 3DUW 6LJQ+HUH


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


 &KHFNWKHDSSURSULDWHER[

    
    ✔   I am the creditor.

       I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
 information, and reasonable belief.




 8    /s/Deborah Rothschild
      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
      Signature
                                                                                    06/07/2018
                                                                            'DWHBBBBBBBBBBBBBBB




 Print:BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
        ROTHSCHILD,DEBORAH                                                         VP Loan Documentation
                                                                                  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
        First Name           Middle Name      Last Name              7LWOH


 Company Wells Fargo Bank, N.A.
         _B____________________BB____________________________________

 Address    MAC N9286-01Y
            ___________________________B_________BB______BB______________
            Number                  Street

            1000 Blue Gentian Road
            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
            $GGUHVV

             Eagan                                   MN      55121-7700
            BBBB_______________________________________________BBBBBBBB__
              City                                       State      ZIPCode



                     800-274-7025                                                  NoticeOfPaymentChangeInquiries@wellsfargo.com
 Contact phone BBBBBBBBBBBBBBBBBBBBBBBBB                                         BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                  (PDLO




Official Form 410S1                                       Notice of Mortgage Payment Change                                            page 2
      Case 1:17-bk-12075            Doc 66       Filed 06/07/18 Entered 06/07/18 09:34:32                     Desc Main
                     UNITED STATES BANKRUPTCY COURT
                                                 Document     Page 3 of 7

                                                      Southern District of Ohio

                                                  Chapter 13 No. 1712075
                                                  Judge: Beth A. Buchanan

In re:
 Martino M. Wilson
                                         Debtor s 

                                         CERTIFICATE OF SERVICE
I hereby certify that this Notice, including all attachments, is being served on or before June 08, 2018 via filing with the US
Bankruptcy Court's CM ECF system and/or by mailing or providing a copy of this document to a vendor for mailing: By U.S.
Postal Service First Class Main Postage Prepaid


Debtor:                           By U.S. Postal Service First Class Mail Postage Prepaid
                                   Martino M. Wilson
                                   6517 Greentree Drive

                                   Cincinnati OH 45224


                                  By U.S. Postal Service First Class Mail Postage Prepaid
                                   N/A




Debtor’s Attorney:                By U.S. Postal Service First Class Mail Postage Prepaid
                                  Steven Vincent Sorg
                                  Amourgis & Associates, LLC
                                  300 E. Business Way
                                  Suite 200
                                  Cincinnati OH 45241

                                  By U.S. Postal Service First Class Mail Postage Prepaid
                                  N/A




Trustee:                           By U.S. Postal Service First Class Mail Postage Prepaid
                                  Margaret A Burks
                                  chapter 13 Trustee
                                  600 Vine Street
                                  Suite 2200
                                  Cincinnati OH 45202



                                                          /s/Deborah Rothschild
                                                          @@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@
                                                          VP Loan Documentation
                                                          Wells Fargo Bank, N.A.
                                                                                PERF
Case 1:17-bk-12075                    Doc 66           Filed 06/07/18 Entered 06/07/18 09:34:32                                                    Desc Main
                                                                    Page 4Escrow
                                                                           of 7 Review Statement
                                      Return Mail Operations
                                      PO Box 14547     Document           For informational purposes only
                                      Des Moines, IA 50306-4547
                                                                                              Statement Date:                                    May 24, 2018
                                                                                              Loan number:
                                                                                              Property address:
                                                                                                   6517 GREENTREE DRIVE
                                                                                                   CINCINNATI OH 45224


                                                                                              Customer Service
                                                                                                    Online                          Telephone
                                                                                                    wellsfargo.com                  1-800-340-0473
              MARTINO M WILSON
                                                                                                    Correspondence                  Hours of operation
              6517 GREENTREE DR                                                                     PO Box 10335                    Mon - Fri 7 a.m. - 7 p.m. CT
              CINCINNATI OH 45224-2224                                                              Des Moines, IA 50306
                                                                                                    To learn more, go to:
                                                                                                    wellsfargo.com/escrow


                                                                                                      We accept telecommunications relay service calls



    PLEASE NOTE: If you are presently seeking relief (or have previously been granted
    relief) under the United States Bankruptcy Code, this statement is being sent to you
    for informational purposes only. The summaries below are based on the terms of the
    loan and are provided for informational purposes only.
    These amounts are governed by the terms of the loan unless otherwise reduced by an
    order of the bankruptcy court.

    We reviewed the escrow account, here's what we found:

         •   Required Minimum Balance: The escrow account balance is projected to               The escrow account has a shortage of
             fall below the required minimum balance. This means there is a shortage.                       $1,087.69
         •   Future payments: Based on what we expect to pay, as of August 1, 2018, the
             escrow portion of the payment will increase.



      Part 1 - Mortgage payment

             Option 1                 Pay the shortage amount over 12 months
                                                   Current               New
                                                   payment             payment
                                                                                                   Option 1: No action required
     Principal and/or interest                          $538.16             $538.16

     Escrow payment                                     $564.02             $728.46            Starting August 1, 2018 the new contractual
                                                                                               payment amount will be $1,266.62
     Total payment amount                            $1,102.18          $1,266.62

             Option 2                 Pay the shortage amount of $1,087.69
                                                   Current               New
                                                   payment             payment
                                                                                                   Option 2: Pay shortage in full
     Principal and/or interest                          $538.16             $538.16

     Escrow payment                                     $564.02             $637.82            Starting August 1, 2018 the new contractual
     Total payment amount                            $1,102.18           $1,175.98             payment amount will be $1,175.98

     Note: If this is an adjustable rate mortgage (ARM), a separate notice will be sent
     before the payment is scheduled to change.
                                                                                               Note: Since a bill pay or third-party payment service is
                                                                                               used, please remember to adjust the mortgage payment
                                                                                               amount. This applies to both options.




                                                           See Page 2 for additional details.


                                             Note: If you are presently seeking relief (or have previously been granted relief) under the United
                                             States Bankruptcy Code, this coupon is being provided for informational purposes only. If your
                                             Chapter 13 plan calls for your Chapter 13 Trustee to make the on-going post-petition mortgage
                                             payments, please contact your attorney or the Trustee’s office before directly sending any
                                             amounts relating to this escrow shortage

                                                                       The escrow account review indicates a shortage. You may voluntarily choose Option 2
                                                                       to pay the shortage in full now and the mortgage payment will be $1,175.98.
      MARTINO M WILSON

                                                                       Please detach this coupon and mail it along with the check for
                                                                       $1,087.69 to the address that appears on this coupon.
                  Wells Fargo Home Mortgage
                  PO Box 14538
                  Des Moines, IA 50306-3538




             936                           9 10 02 00110218 00117598 00218987 00108769 0
                                                                                                                                                  Page 2 of 3
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                                                                           Number:                                                               Desc Main
                                     Document
          Part 2 - Payment calculations
                                                   Page 5 of 7
     For the past review period, the amount of the escrow items was $7,560.76. For the coming year, we expect the amount paid from escrow to be
     $7,653.73.

     How was the escrow payment calculated?
     To determine the escrow payment, we add the projected escrow items to be paid over the next 12 months. We base these projected amounts on any
     escrow items that may have been paid in the past and any future anticipated payments to be made. We then divide the total amount by 12 payments
     to determine the escrow amount.

     The chart below includes any actual escrow disbursements as well as any shortage that may have been identified for the past three analysis periods.



     Escrow comparison

                                                                                                                                            New monthly
                                        10/15 - 09/16     10/16 - 09/17        07/17 - 05/18   08/18 - 07/19
                                                                                                                           # of               escrow
                                          (Actual)          (Actual)             (Actual)       (Projected)
                                                                                                                          months              amount

     Property taxes                          $4,302.03          $4,344.51          $5,207.71      $5,207.71        ÷         12       =          $433.98
     Property insurance                        $941.08         $1,009.56           $1,069.14      $1,069.14        ÷         12       =           $89.10
     Total taxes and insurance                $5,243.11         $5,354.07          $6,276.85      $6,276.85        ÷         12       =          $523.08
     Escrow shortage                             $0.00            $162.94             $0.00      $1,087.69         ÷         12       =           $90.64**
     Mortgage insurance                       $1,462.32         $1,426.32          $1,283.91      $1,376.88        ÷         12       =           $114.74

     Total escrow                            $6,705.43         $6,943.33           $7,560.76      $8,741.42        ÷         12       =          $728.46


     **
      This amount is added to the payment if Option 1 on page 1 is selected.


     Projected escrow account activity over the next 12 months
     To determine if there will be a shortage or overage in the account, we calculate whether the amount of the lowest projected escrow balance will be
     greater or less than the required minimum balance. This is determined by subtracting the required minimum balance from the lowest projected
     balance. If the outcome is positive, there is an overage. If it is negative, there is a shortage. The calculation is below:


                                                                                                       (Calculated in Part 3 - Escrow account projections
     Lowest projected escrow balance January, 2019                                   -$235.18          table)

     Bankruptcy adjustment‡                                              +            $193.65

     Minimum balance for the escrow account†                              -        $1,046.16           (Calculated as: $523.08 X 2 months)


     Escrow shortage                                                     =         -$1,087.69


     ‡
      This adjustment of $193.65, is the remaining amount of the pre-petition escrow shortage included in our proof of claim being paid through the
     confirmed bankruptcy plan.
     †
      The minimum balance includes a cash reserve to help cover any increase in taxes and/or insurance. To calculate the cash reserve for the escrow
     account, we add up the total of the yearly escrow payments, and divide by 12 (this amount does not include mortgage insurance). We take this
     amount and multiply it by 2 as allowed by state laws and/or the mortgage contract to determine the cash reserve.


     Important messages
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                                                                                              Number:
                                                                                                                                                             Desc
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      Part 3 - Escrow account projections
     Escrow account projections from August, 2018 to July, 2019
                                             What we
                   Payments to               expect to                                                                   Projected escrow        Balance required
     Date            escrow                   pay out         Description                                                    balance              in the account
     Jul 2018                                                 Starting balance                                                  $306.90                    $1,588.24
     Aug 2018           $637.82                   $114.74     FHA Insurance                                                     $829.98                    $2,111.32
     Sep 2018           $637.82                   $114.74     FHA Insurance                                                    $1,353.06                   $2,634.40
     Oct 2018           $637.82                   $114.74     FHA Insurance                                                    $1,876.14                   $3,157.48
     Nov 2018           $637.82                   $114.74     FHA Insurance                                                   $2,399.22                    $3,680.56
     Dec 2018           $637.82                   $114.74     FHA Insurance                                                   $2,922.30                    $4,203.64
     Dec 2018              $0.00                $1,069.14     ALLSTATE EDI ONLY                                                $1,853.16                   $3,134.50
     Jan 2019           $637.82                   $114.74     FHA Insurance                                                   $2,376.24                    $3,657.58
     Jan 2019              $0.00                $2,611.42     HAMILTON COUNTY (W)                                              -$235.18                $1,046.16
     Feb 2019           $637.82                   $114.74     FHA Insurance                                                     $287.90                    $1,569.24
     Mar 2019           $637.82                   $114.74     FHA Insurance                                                     $810.98                    $2,092.32
     Apr 2019           $637.82                   $114.74     FHA Insurance                                                    $1,334.06                   $2,615.40
     May 2019           $637.82                   $114.74     FHA Insurance                                                    $1,857.14                   $3,138.48
     Jun 2019           $637.82                   $114.74     FHA Insurance                                                   $2,380.22                    $3,661.56
     Jun 2019              $0.00                $2,596.29     HAMILTON COUNTY (W)                                               -$216.07                   $1,065.27
     Jul 2019           $637.82                   $114.74     FHA Insurance                                                     $307.01                    $1,588.35

     Totals           $7,653.84                 $7,653.73



      Part 4 - Escrow account history
     Escrow account activity from July, 2017 to July, 2018
                           Deposits to escrow                   Payments from escrow                                                       Escrow balance
        Date      Actual      Projected Difference          Actual   Projected Difference                Description           Actual         Projected Difference
     Jul 2017                                                                                         Starting Balance           $207.08        $958.53         -$751.45
     Jul 2017        $0.00         $564.02     -$564.02        $0.00          $117.85      -$117.85   FHA Insurance              $207.08       $1,404.70      -$1,197.62

     Jul 2017        $0.00          $0.00         $0.00       $117.85            $0.00     $117.85    FHA Insurance               $89.23       $1,404.70       -$1,315.47

     Aug 2017      $557.80         $564.02        -$6.22       $0.00          $117.85      -$117.85   FHA Insurance              $647.03       $1,850.87      -$1,203.84

     Aug 2017        $0.00          $0.00         $0.00       $117.85            $0.00     $117.85    FHA Insurance              $529.18       $1,850.87      -$1,321.69

     Sep 2017      $564.02         $564.02        $0.00        $0.00          $117.85      -$117.85   FHA Insurance            $1,093.20      $2,297.04       -$1,203.84

     Sep 2017        $0.00          $0.00         $0.00       $117.85            $0.00     $117.85    FHA Insurance              $975.35      $2,297.04       -$1,321.69

     Oct 2017      $564.02         $564.02        $0.00        $0.00          $117.85      -$117.85   FHA Insurance             $1,539.37      $2,743.21      -$1,203.84

     Oct 2017        $0.00          $0.00         $0.00       $117.85            $0.00     $117.85    FHA Insurance             $1,421.52      $2,743.21      -$1,321.69

     Nov 2017        $0.00         $564.02     -$564.02        $0.00          $117.85      -$117.85   FHA Insurance             $1,421.52      $3,189.38      -$1,767.86

     Nov 2017        $0.00          $0.00         $0.00       $117.85            $0.00     $117.85    FHA Insurance            $1,303.67       $3,189.38      -$1,885.71

     Dec 2017        $0.00         $564.02     -$564.02        $0.00          $117.85      -$117.85   FHA Insurance            $1,303.67       $3,635.55      -$2,331.88

     Dec 2017        $0.00          $0.00         $0.00     $1,069.14     $1,009.56         $59.58    ALLSTATE EDI ONLY          $234.53      $2,625.99       -$2,391.46

     Dec 2017        $0.00          $0.00         $0.00       $117.85            $0.00     $117.85    FHA Insurance              $116.68      $2,625.99       -$2,509.31

     Jan 2018      $564.02         $564.02        $0.00       $117.85         $117.85        $0.00    FHA Insurance              $562.85       $3,072.16      -$2,509.31

     Jan 2018        $0.00          $0.00         $0.00     $2,611.42     $2,179.82        $431.60    HAMILTON COUNTY (W)     -$2,048.57        $892.34       -$2,940.91

     Feb 2018      $564.02         $564.02        $0.00        $0.00          $117.85      -$117.85   FHA Insurance            -$1,484.55      $1,338.51      -$2,823.06

     Feb 2018        $0.00          $0.00         $0.00       $114.74            $0.00     $114.74    FHA Insurance            -$1,599.29      $1,338.51      -$2,937.80

     Mar 2018        $0.00         $564.02     -$564.02        $0.00          $117.85      -$117.85   FHA Insurance            -$1,599.29      $1,784.68      -$3,383.97

     Mar 2018        $0.00          $0.00         $0.00       $114.74            $0.00     $114.74    FHA Insurance            -$1,714.03      $1,784.68      -$3,498.71

     Apr 2018        $0.00         $564.02     -$564.02        $0.00          $117.85      -$117.85   FHA Insurance            -$1,714.03     $2,230.85       -$3,944.88

     Apr 2018        $0.00          $0.00         $0.00       $114.74            $0.00     $114.74    FHA Insurance            -$1,828.77     $2,230.85       -$4,059.62

     May 2018     $3,948.14        $564.02     $3,384.12       $0.00          $117.85      -$117.85   FHA Insurance             $2,119.37      $2,677.02        -$557.65
     (estimate)

     May 2018        $0.00          $0.00         $0.00       $114.74            $0.00     $114.74    FHA Insurance            $2,004.63       $2,677.02        -$672.39

     May 2018        $0.00          $0.00         $0.00     $2,596.29            $0.00   $2,596.29    HAMILTON COUNTY (W)       -$591.66       $2,677.02      -$3,268.68

     Jun 2018      $564.02         $564.02        $0.00       $114.74         $117.85        -$3.11   FHA Insurance             -$142.38       $3,123.19      -$3,265.57
     (estimate)

     Jun 2018        $0.00          $0.00         $0.00        $0.00      $2,164.69      -$2,164.69   HAMILTON COUNTY (W)       -$142.38        $958.50       -$1,100.88

     Jul 2018      $564.02          $0.00       $564.02       $114.74            $0.00     $114.74    FHA Insurance              $306.90        $958.50         -$651.60
     (estimate)

     Totals       $7,890.06     $6,768.24      $1,121.82    $7,790.24     $6,768.27       $1,021.97




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